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                     IN THE UNITED STATES DISTRICT COURT
                     DISTRICT OF UTAH, NORTHERN DIVISION




UNITED STATES OF AMERICA,                     INDICTMENT

               Plaintiff,                     Violations:

       v.                                     26 U.S.C. § 7212(a)-Corrupt Endeavor

DERALD WILFORD GEDDES,                        26 U.S.C. § 7201-Tax Evasion

               Defendant.                     26 U.S.C. § 7206(1)-Filing a False Tax
                                              Return


                                                  Case: 1: 15-cr-00093
                                                  Assigned To: Campbell, Tena
The Grand Jury charges:                           Assign. Date : 12/2/2015
                                                  Description: USA v.


                                      INTRODUCTION

1.      Defendant DERALD WILFORD GEDDES ("GEDDES") was a dentist who lived in

Ogden, Utah, and owned and operated a dental practice there.

2.      Foothill Enterprises, LLC, was a corporation through which Defendant GEDDES

operated his dental practice.

3.      Crofton Trust was an entity that Defendant GEDDES designated as a member of Foothill

Enterprises, LLC.



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4.     Mount Ogden Dental, PC, was a corporation through which Defendant GEDDES

operated his dental practice.

5.     Black Rock Ventures, LLC, was an entity that Defendant GEDDES used in an attempt to

mislead the Internal Revenue Service ("IRS") as to his interest in certain real property.

6.     Concatenate, LLC, was an entity that Defendant GEDDES used in an attempt to mislead

the IRS as to his interest in certain real and personal property.

7.     Empyreal Vinculum was an entity that Defendant GEDDES used in an attempt to mislead

the IRS as to his interest in certain real and personal property.

8.      Pellucid Ensconced Monad (a.k.a. Pllucid Ensconced Monad) was an entity that

Defendant GEDDES used in an attempt to mislead the IRS as to his interest in certain real and

persmial property.



                                              COUNT I

                                         26 U.S.C. § 7212(a)

      (Corrupt Endeavor to Obstruct the Due Administration of the Internal Revenue Laws)

        The allegations set forth in paragraphs 1 through 8 are re-·alleged as if set forth herein.

9.      Beginning as early as in and around 1998, and continuing until at least in and around

2014, in the District ofUtah and elsewhere,

                                  DERALD WILFORD GEDDES,

Defendant herein, corruptly endeavored to obstruct and impede the due administration of the

internal revenue laws by committing acts, including, but not limited to, the following:

        a.      Transferring and maintaining income, assets, and property interests in the names

                of his sister, other.nominee individuals, and nominee entities, including, among

                others, Black Rock Ventures, LLC, Concatenate, LLC, Empyreal Vinculum, and

                Pellucid Ensconc~d Monad (a.k.a. Pllucid Ensconced Monad);

        b.      Responding to correspondence fl·om eniployees of the IRS with false statements

                about his income;


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       c.     Sending employees of the IRS requests for their Social Security numbers on IRS

              Form W-9, Request for Taxpayer Identification Number and Certification;

       d.     Submitting bogus documents titled "Bond to discharge attachment for debt" to the

              IRS in purported satisfaction of his outstanding tax liabilities;

       e.     Filing false liens, deeds of trust, secured interests, and other legal and property

              interests against his own real and personal property;

       f.      Submitting corporate tax returns to the IRS that falsely reported that his dental

               practice had no gross receipts and sales; and

       g.      Submitting false original and amended documents to the IRS, such as IRS Form

               1096, Annual Summary and Transmittal ofU.S. Information Returns, and IRS

               Form 1099-MISC, Miscellaneous Income.

       All in violation of 26 U.S. C. § 7212(a).



                                           COUNT 2
                                         26 u.s.c. § 7201

                               (Evasion of Payment of Income Tax)

       The allegations set forth in paragraphs 1 through 8 are re-alleged as if set forth herein.

10.    Beghming no later than in and around 1999, the exact date being unknown to the Grand

Jury, and continuing thereafter up to and including on or about the date of this Indictment, in the

District of Utah and elsewhere,

                                  DERALD WILFORD GEDDES,

Defendant herein, willfully attempted to evade and defeat the payment of income tax due and

owing by him and any other entities related to him to the United States of America for the

calendar· years 1997, 1998, 1999, 2002, 2003, 2004 and 2005, in the amount of approximately

$4,286,200, by committing the following affirmative acts of evasion, among others:

        a.   On or about August 27, 2007, submitting to the IRS a bogus "Bond to discharge

             attachment for debt," in the amount of $2,000,000, that he fraudulently claimed


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      satisfied his outstanding tax liabilities for calendar years 1.997, 1998, 1999, 2000,

      2001, 2002, 2003, 2004, and 2005;

b.    On or about August 27, 2007, submitting to the IRS a bogus "Bond to discharge

      attachment for debt," in the amount of $3,000,000, that he fraudulently claimed

      satisfied his outstanding tax liabilities for calendar years 1997, 1998, 1999,

      and 2003;

c.    On or about October 19, 2007, causing to be filed with the State of Missouri articles

      of organization for Black Rock Ventures, LLC;

d.    On or about November 19, 2008, submitting to the IRS an IRS Form 1096 that

      falsely reported federal income tax withheld for himself for calendar year 2007 in

      the amount of $8,254,287 .88;·

e.    On or about December 10,2009, causing a deed oftrust to be filed in the land

      records of Weber County, Utah, to encumber his real property located at 1500 36th

      Street, Ogden, Utah, with a false $57,250 interest in the name of Black Rock

      Ventures, LLC;

f.    On or about May 2, 2012, causing to be tl.led with the State oflndiana articles of

      01;ganization fo.r Concatenate, LLC;

g.    On or about July 14, 2012, registering Post Office Box 150943 at the Mount Ogden

      Station, Utah, post office for Concatenate, LLC, and "Empyreal Vinculum (Trust);"

h.    On or about September 24, 2012, tlling with the Utah Department of Commerce a

      "UCC 1 Filing Statement" to encumber his real property located at 1500 36th

       Street, Ogden, Utah, and other personal property with a false $1.4 million interest in

       the name of secured party Pellucid Ensconced Monad, P. 0. Box 150943, Ogden,

       Utah 84415;

 i.    On or about December 31, 2013, while maintaining control over Concatenate, LLC,

       causing his sister, who was designated a trustee of the Empyreal Vinculum trust, to

       become the sole manager of Concatenate, LLC;


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j.     On or about July 23, 2013, filing a "UCC 3 Fil~ng Addendum" with the Utah

       Department of Commerce to encumber personal property and a partial interest in

       real propetiy located at 1220 33rd Street, SuiteD, Ogden, Utah, with a false $1.4

       million interest in the name of secured party Pellucid Ensconced Monad, P.O. Box

       150943, Ogden, Utah 84415;

k.    · On or about July 23, 2013, filing a "UCC 3 Filing Amendment" to change the

       secured party address of Pellucid Ensconced Monad from P.O. Box 150943, Ogden,

       Utah 84415, to 6622 East 129th Avenue, Crown Point, Indiana 46307;

1.     On or about August 11, 2013, filing with the Utah Department of Commerce a

       "UCC 3 Filing Amendment" to change the secured party from Pellucid Ensconced

       Monad to Pllucid Ensconced Monad;

m.     On or about July 29,2013, submitting to the IRS an IRS Form 1120, U.S.

       Corporation Income Tax Return, on which he falsely reported that Mount Ogden

       Dental, PC, had no gro.ss receipts and sales for calendar year 2011;

 n.    On or about September 17, 2013, submitting to the IRS an IRS Form 1120, U.S.

       Corporation Income Tax Return, on which he falsely repmied that Mount Ogden

       Dental, PC, had no gross receipts and sales for calendar year 20 12; and

 o.    On or about September 10, 2014, submitting to the IRS an IRS Form 1120, U.S.

       Corporation Income Tax Return, on which he falsely reported that Mount Ogden

       Dental, PC, had no gross receipts and sales for calendar year .20.13.

 All in violation of26 U.S.C. § 7201.




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                                            COUNT 3

                                       26   u.s.c. § 7206(1)
                                    (Filing a False Tax Return)

       The allegations set forth in paragraphs 1 through 8 are re-alleged as if set forth herein.

11.    On or about July 29, 2013, in the District ofUtah and elsewhere,

                                 DERALD WILFORD GEDDES,

Defendant herein, a resident of Ogden, Utah, who was the president. of Mount Ogden Dental, PC,

a corporation, did willfully make and subscribe an IRS Form 1120, U.S. Corporation Income Tax

Return, for Mount Ogden Dental, PC, for calendar year 2011, which was verit1ed by a written

declaration that it was made under the penalties of pe1jury ai1d which he did not believe to be

true and co~rect as to every material matter. That 2011 IRS Form 1120, which was prepared and

signed in the District of Utah and was submitted to the IRS, falsely repmied gross receipts and

sales for calendar year 2011 in the amount of $0 online 1b, whereas, as he then and there lmew,

Mount Ogden Dental, PC, had gross receipts and sales of approximately $520,000 for calendar

year 2011.

       All in violation of26 U.S.C. § 7206(1).




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                                           COUNT 4

                                       26 u.s.c. § 7206(1)

                                    (Filing a False Tax Return)

       The allegations set forth in paragraphs 1 through 8 are re-alleged as if set forth herein.

12.    On or about September 17,2013, in the District of Utah and elsewhere,

                                 DERALD WILFORD GEDDES,

Defendant herein, a resident of Ogden, Utah, who was the president of Mount Ogden Dental, PC,

a corporation, did willfully make and subscribe an IRS Fmm 1120, U.S. Corporation Income Tax

Return, for Mount Ogden Dental, PC, for calendar year 2012, which was verified by a written

declaration that it was made under the penalties of pe1jury and which he did not believe to be

true and correct as to every material matter. That 2012 IRS Form 1120, which was prepared and

signed in the District of Utah and was submitted to the IRS, falsely repmied gross receipts and

sales for calendar year 2012 in the amount of$0 online 1a, whereas, as he then and there knew,

Mount Ogden Dental, PC, had gross receipts and sales of approximately $540,000 for calendar

year 2012.

       All in violation of26 U.S.C. § 7206(1).




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                                           COUNT 5
                                       26 u.s.c. § 7206(1)

                                    (Filing a False Tax Return)

       The allegations set forth in paragraphs 1 through 8 are re-alleged as if set forth herein.

13.     On or about September 10, 2014, in the District ofUtah and elsewhere,

                                 DERALD WILFORD GEDDES,

Defendant herein, a resident of Ogden, Utah, who was the president of Mount Ogden Dental, PC,

a corporation, did willfully make and subscribe an IRS Form 1120, U.S. Corporation Income Tax

Return, for Mount Ogden Dental, PC, for calendar year 2013, which was verified by a written

declaration that it was made under the penalties of pe1jury and which he did not believe to be

true and correct as to every material matter. That 2013 IRS Fonn 1120, which was prepared and

signed in the District of Utah and was submitted to the IRS, falsely reported gross receipts and

sales for calendar year 2013 in the amount of $0 on line 1a, whereas, as he then and there knew,

Mount Ogden Dental, PC, had gross receipts and sales of approximately $440,000 for calendar

year 2013.

        All in violation of26 U.S.C. § 7206(1).


                                               A TRUE BILL:

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                                               FOREPERSON OF THE GRAND JURY

JOHN W. HUBER
UNITED STATES ATTORNEY



MATTHEW R. HOFFMAN
Special Assistant United States Attorney

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BENJA:MIN J. WEIR
Special Assistant United States Attorney


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